              Case 3:17-cv-02107-RS Document 203 Filed 09/07/17 Page 1 of 4


 1   MATTHEW D. POWERS (Bar No. 104795)
     matthew.powers@tensegritylawgroup.com
 2   WILLIAM P. NELSON (Bar No. 196091)
     william.nelson@tensegritylawgroup.com
 3   JENNIFER K. ROBINSON (Bar No. 270954)
     jen.robinson@tensegritylawgroup.com
 4   SAMANTHA A. JAMESON (Bar. No. 296411)
     samantha.jameson@tensegritylawgroup.com
 5   NATASHA M. SAPUTO (Bar No. 291151)
     natasha.saputo@tensegritylawgroup.com
 6   TENSEGRITY LAW GROUP, LLP
     555 Twin Dolphin Drive, Suite 650
 7   Redwood Shores, CA 94065
     Telephone:    (650) 802-6000
 8   Facsimile:    (650) 802-6001
 9   Attorneys for Plaintiff
     Free Stream Media Corp. d/b/a Samba TV
10
11                              UNITED STATES DISTRICT COURT
12                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14   FREE STREAM MEDIA CORP.,                  Case No. 3:17-cv-02107-RS
     d/b/a SAMBA TV,
15
                                               PLAINTIFF’S REQUEST FOR JUDICIAL
16                Plaintiff,                   NOTICE IN SUPPORT OF PLAINTIFF’S
                                               OPPOSITION TO DEFENDANTS’
17         vs.                                 MOTION TO DISMISS PLAINTIFF’S
                                               SECOND AMENDED COMPLAINT
18   ALPHONSO INC., ASHISH CHORDIA,
19   RAGHU KODIGE, and LAMPROS
     KALAMPOUKAS,                              Judge: Hon. Richard Seeborg
                                               Dept: Courtroom 3, 17th Floor
20                                             Time: 1:30 P.M.
                  Defendants.                  Date: September 28, 2017
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     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE                      CASE NO. 3:17-CV-02107-RS
                 Case 3:17-cv-02107-RS Document 203 Filed 09/07/17 Page 2 of 4


 1                               REQUEST FOR JUDICIAL NOTICE
 2          Plaintiff Free Stream Media Corporation d/b/a Samba TV (“Samba”) respectfully
 3   requests that the Court take judicial notice of the following documents cited in its Opposition
 4   to Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint.
 5                      MEMORANDUM OF POINTS AND AUTHORITIES
 6          Courts may take judicial notice of facts that are “not subject to reasonable dispute
 7   because [they] . . . can be accurately and readily determined from sources whose accuracy cannot
 8   reasonably be questioned.” Fed. R. Evid. 201(b)(2). “[C]ourts must consider the complaint in its
 9   entirety, as well as other sources courts ordinarily examine when ruling on Rule 12(b)(6)
10   motions to dismiss, in particular, documents incorporated into the complaint by reference, and
11   matters of which a court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
12   551 U.S. 308, 323 (2007); see also N.M. State Inv. Council v. Ernst & Young LLP, 641 F.3d
13   1089, 1094 (9th Cir. 2010); Outdoor Media Grp., Inc. v. City of Beaumont, 506 F.3d 895 (9th
14   Cir. 2007).
15          Plaintiff seeks judicial notice of the following documents, which are judicially noticeable
16   for the reasons set forth below:
17          1.       Attached hereto as Exhibit 1 is a true and correct copy of U.S. Patent No.
18   9,386,356, entitled “Targeting With Television Audience Data Across Multiple Screens.” See
19   Declaration of William P. Nelson, filed concurrently herewith (“Nelson Decl.”), ¶ 2. Courts

20   “may take judicial notice of court filings and other matters of public record.” Reyn’s Pizza Bella,
21   LLC v. Visa USA, Inc., 442 F.3d 741, 746 (9th Cir. 2006). Exhibit 1 is therefore judicially
22   noticeable.
23          2.       Attached hereto as Exhibit 2 is a true and correct copy of an article entitled “In a
24   multi-screen future, phones don’t control TVs, TVs control phones,” produced at SAM-ALP
25   1702049 - SAM-ALP 1702050 (available at http://www.foxnews.com/tech/2014/05/09/in-multi-

26   screen-future-phones-dont-control-tvs-tvs-control-phones.print.html). See Nelson Decl., ¶ 3.
27   Courts may take judicial notice that the public was aware of certain information. See Heliotrope
28   Gen., Inc. v. Ford Motor Co., 189 F.3d 971, 981 n.18 (9th Cir. 1999) (“We take judicial



     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE          1                       CASE NO. 3:17-CV-02107-RS
                 Case 3:17-cv-02107-RS Document 203 Filed 09/07/17 Page 3 of 4


 1   notice that the market was aware of the information contained in news articles submitted by the
 2   defendants.”). Exhibit 2 is therefore judicially noticeable.
 3          3.        Attached hereto as Exhibit 3 is a true and correct copy of a document entitled
 4   “Orville Redenbacher’s Bets on Binge Watchers” produced at SAM-ALP 1702036 - SAM-ALP
 5   1702037                (available             at                https://samba.tv/app/uploads/2017/06/Case-
 6   Studies_Conagra_SyncRetarget.pdf). See Nelson Decl., ¶ 4. Courts may take judicial notice that
 7   the public was aware of certain information. See Heliotrope, 189 F.3d at 981 n.18 (“We
 8   take judicial    notice that   the   market        was       aware   of   the   information    contained   in
 9   news articles submitted by the defendants.”). Exhibit 3 is therefore judicially noticeable.
10          4.        Attached hereto as Exhibit 4 is a true and correct copy of an article entitled
11   “Flingo reveals Samba, a first of its kind dual interactive TV and second screen platform,”
12   produced        at     SAM-ALP        1701965            -     SAM-ALP          1701968       (available   at
13   https://pando.com/2013/01/04/flingo-releases-samba-a-first-of-its-kind-dual-interactive-tv-and-
14   second-screen-platform/). See Nelson Decl., ¶ 5. Courts may take judicial notice that the public
15   was aware of certain information. See Heliotrope, 189 F.3d at 981 n.18 (“We take judicial
16   notice that the market was aware of the information contained in news articles submitted by the
17   defendants.”). Exhibit 4 is therefore judicially noticeable.
18
19          For the foregoing reasons, Plaintiff respectfully requests that the Court grant this Request

20   for Judicial Notice.
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     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE                  2                        CASE NO. 3:17-CV-02107-RS
              Case 3:17-cv-02107-RS Document 203 Filed 09/07/17 Page 4 of 4


 1   Dated: September 7, 2017                  Respectfully submitted
 2
                                               /s/ William P. Nelson
 3                                             Matthew D. Powers (Bar No. 104795)
                                               William P. Nelson (Bar No. 196091)
 4                                             Jennifer K. Robinson (Bar No. 270954)
                                               Samantha A. Jameson (Bar. No. 296411)
 5                                             Natasha M. Saputo (Bar No. 291151)
                                               TENSEGRITY LAW GROUP, LLP
 6                                             555 Twin Dolphin Drive, Suite 650
                                               Redwood Shores, CA 94065
 7                                             Telephone:     (650) 802-6000
                                               Facsimile:     (650) 802-6001
 8                                             Email:
                                               matthew.powers@tensegritylawgroup.com
 9                                             william.nelson@tensegritylawgroup.com
                                               jen.robinson@tensegritylawgroup.com
10                                             samantha.jameson@tensegritylawgroup.com
                                               natasha.saputo@tensegritylawgroup.com
11                                             samba_service@tensegritylawgroup.com
12                                             Attorneys for Plaintiff,
                                               Free Stream Media Corp. d/b/a Samba TV
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     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE      3                     CASE NO. 3:17-CV-02107-RS
